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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION

1240 S. BANNOCK, LLC,                           )
                                                )                Case No. 2:21-cv-00183-PLM-MV
                Plaintiff,                      )
                                                )                U.S. District Judge:
        v.                                      )                Hon. Paul L. Maloney
                                                )
DENNIS SIEM, DONALD J. NERAT,                   )                U.S. Magistrate Judge:
STEVEN A. NERAT, and COLDWELL                   )                Hon. Maarten Vermaat
BANKER REAL ESTATE GROUP,                       )
                                                )
                Defendants.                     )

    DEFENDANTS DONALD J. NERAT AND STEVEN A. NERAT’S MOTION TO
                             DISMISS

                                      Oral Argument Requested

        Defendants Donald Nerat and Steven Nerat request that this Court dismiss Plaintiff’s

claims against them under Fed. R. Civ. P. 12(b)(6) for failure to state a claim for which relief can

be granted. The purported contract attached to Plaintiff’s First Amended Complaint1 was signed

by the Nerat Defendants after the offer expired. See PageID.82, ¶ 27; see PageID.68, ¶ 11. Under

Michigan law, accepting an expired offer does not form an agreement. Therefore, it is not a

contract, and Plaintiff’s breach of contract claim against the Nerats (Count I) fails to state a claim

for which relief can be granted. Further, the parties’ subsequent “Addendum” is void due to

illegality. The newly added fraud/silent fraud allegations fail to state a claim because they entail

future conduct, which fails to state a fraud claim under Michigan law. Further, the fraud claims

fail to state a claim due to illegality and lack of specificity required by Fed. R. Civ. P. 9(b).



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                PageID.79-PageID.83
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       Counsel for the Nerat Defendants sought concurrence from Plaintiff’s counsel in the

relief sought on October 15, 2021 per L Civ R 7.1(d). As of yet, Plaintiff’s counsel has not

concurred. Therefore, the Nerat Defendants bring this Motion.


                                                      Respectfully submitted,

                                                      Numinen, DeForge & Toutant, P.C.

                                                              s/ Phillip B. Toutant
                                                      ____________________________
                                                      PHILLIP B. TOUTANT (P72992)
                                                      Attorneys for Defendants Nerat
                                                      105 Meeske Ave.
                                                      Marquette, MI 49855
                                                      (906) 226-2580
                                                      phillip@numinenlaw.com




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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

1240 S. BANNOCK, LLC,                         )
                                              )              Case No. 2:21-cv-00183-PLM-MV
               Plaintiff,                     )
                                              )              U.S. District Judge:
       v.                                     )              Hon. Paul L. Maloney
                                              )
DENNIS SIEM, DONALD J. NERAT,                 )              U.S. Magistrate Judge:
STEVEN A. NERAT, COLDWELL                     )              Hon. Maarten Vermaat
BANKER REAL ESTATE GROUP, and                 )
BAY TITLE & ABSTRACT,                         )
                                              )
               Defendants.                    )

      DEFENDANTS DONALD J. NERAT AND STEVEN A. NERAT’S BRIEF IN
                  SUPPORT OF MOTION TO DISMISS

                                   Oral Argument Requested


I.     INTRODUCTION

       Plaintiff 1240 S. Bannock, LLC (“Bannock”) claims that Defendants Steven and Donald

Nerat agreed to sell them real estate containing a strip mall in Menominee, Michigan. Plaintiff’s

Complaint, ECF 1, PageID.2, ¶ 12. Bannock claims that the agreement was breached when the

property was sold to a third party. Id. PageID.4, ¶ 21. Additional claims have been made against

Co-Defendants. Initially, the only claim against the Nerats is breach of contract (Count I). See id.

at ¶¶ 24-27. Now, however, Bannock has filed its First Amended Complaint (the “FAC”) and

raises an additional claim—that of fraud and silent fraud against the Nerats. ECF 16, PageID.73-

PageID.75, ¶¶ 58-70.

       Plaintiff’s breach of contract claim fails because there was not a contract at all. Bannock’s

offer, titled Buy and Sell Agreement (the “Offer”), stated that it “WILL EXPIRE ON January
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21 ... ” Exhibit A to Plaintiff’s Complaint, ECF 1, PageID.12, ¶ 27 (emphasis supplied in

original). However, the Nerats signed the offer on January 26, after it had already expired. Id. at

PageID.13. Because the Offer had expired when signed, the Nerat Defendants accepted nothing.

For this reason, Plaintiff fails to state a claim for which relief can be granted as to the Offer.

Simply put, it was not a binding contract.

         Subsequently, Bannock and the Nerats executed an Amendment to Offer to Purchase (the

“Amendment”) around April 12, 2021. Exhibit B to Plaintiff’s Complaint, ECF 1, PageID.15-

PageID.16. In part, the Amendment attempted to push back the closing date set forth in the

Offer. Id. It also imposed an additional condition: “[Bannock] and [the Nerats] agree that the sale

is contingent on Yuma Way MI LLC receiving a license from the City of Menominee to operate a

retail marihuana establishment at the property.” Id. at lines 6-7.

         Plaintiff fails to state a claim for which relief can be granted as to the Amendment. This is

for two reasons. First, by entering into an addendum claiming to amend an agreement amounting

to nothing (i.e., the Offer), the parties amended just that: nothing. There was nothing to amend.

Second, the Amendment explicitly conditioned all performance on a third party receiving a

license to sell cannabis. Selling cannabis is in direct violation of the Controlled Substances Act, 21

U.S.C. § 801, et seq. (the “CSA”). The Amendment was illegal under federal law. It appears that

the issue of contractual illegality under the CSA for a marijuana business issue permitted under

state law with an Article III federal court sitting in diversity has received little, if any treatment by

Michigan’s federal courts.2 However, it has been addressed in other federal courts and a similar


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                  Caselaw within Michigan federal courts that consider the interplay of marijuana issues under state
law and federal law generally bar the use of federal protections because Marijuana is illegal under the CSA. See
Barnett v. Commissioner of Social Sec., unreported opinion of the U.S. District Court for the Western District of
Michigan, Case No. 1:13-cv-376, 2014 WL 4987722 (W.D. Mich. 2014) (Affirming denial of Social Security benefits

                                                         2
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analysis should be applied here, resulting in dismissal. For these two reasons, Bannock fails to

state a claim for which relief can be granted in this Court as to the Amendment. Plaintiff’s claims

against the Nerat Defendants should be dismissed.

         For similar reasons, the fraud and silent fraud allegations against the Nerat Defendants

fail to state a claim for which relief can be granted. First, the fraud claims fail for lack of

damages—there was never an actual agreement, merely an acceptance of an expired offer.

Second, Plaintiff fails to state a claim for which relief can be granted because the transaction was

illegal. Finally, the fraud claims fail to meet the specificity requirements of Fed. R. Civ. P. 9(b).



II.      FACTS AND PROCEDURAL HISTORY

         Bannock alleges that it made an offer to purchase a piece of real estate owned by the Nerat

Defendants. FAC, PageID.68, ¶ 11. The Offer was conveyed by way of a “Buy and Sell

Agreement,” which Plaintiff attached to the FAC. PageID.79-PageID.83. The purchase price in

the offer was $415,000. FAC, PageID.68, ¶ 11. On its terms, the Offer states “THIS OFFER

WILL EXPIRE ON January 21 . . . or upon Seller’s receipt of revocation from Buyer,

whichever is earlier.” Buy and Sell Agreement, Exhibit A to the FAC, PageID.82, ¶ 27

(emphasis supplied in original). The Nerat Defendants signed the Offer on January 26, 2021, five

days after it had expired. FAC, PageID.68, ¶ 13; Offer, PageID.83, ¶ 31. The Offer stated that

closing was to be on or before April 28, 2021. Offer, PageID.80, ¶ 10.




on the basis of drug and alcohol abuse where illicit and later medical marijuana was used by claimant. Id. at *5-*6.);
In re Basrah Custom Design, Inc., 602 B.R. 31 (Bankr. E.D. Mich. 2019) (Bankruptcy court refused to assist in
discharge of debtor’s lease to marijuana dispensary to allow lease to another marijuana dispensary as such leases
violated the CSA, dismissing bankruptcy case. Id. at 38.).

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        On April 8, 2021, Bannock presented and signed the Amendment, titled “WB-40

AMENDMENT TO OFFER TO PURCHASE.” FAC, PageID.70, ¶ 26; Amendment,

PageID.93. The Amendment moved the closing date to July 1, 2021 or “five (5) business days

following Yuma Way LLC receiving a license to operate a marihuana retail establishment at the

above-mentioned property.” Amendment, PageID.93. The Amendment also stated that “Buyer

and Seller agree that the sale is contingent upon Yuma Way LLC receiving a license from the

City of Menominee to operate a retail marihuana establishment at the property.” Id. Without

providing further information, Bannock claims that it began spending money in anticipation of

closing on the purchase. FAC, PageID.69, ¶ 20. However, the amounts spent are not identified.

The property was subsequently sold to a third party. Id., PageID.71, ¶ 38.

        Plaintiff claims that it was unaware of a contract with a third party. FAC, PageID.72, ¶ 42.

This, however, is plainly contradicted by Offer, which stated that “Seller has a right to terminate

this agreement within 7 days of acceptance of the contract in case Wild West Tobacco will

exercise their right of first refusal.” Offer, PageID.82, ¶ 26. Taking Plaintiff’s allegations as true

for the purposes of this Motion, at the least this should have informed Plaintiff that there was

involvement of a third party and that there was some sort of contractual obligation. Nevertheless,

Plaintiff now claims that it was unaware that it was in backup position with regard to the sale of

the real estate. FAC, PageID.72 ¶¶ 40-41.

        The property was subsequently sold to a third party. Id., PageID.71, ¶ 38. Bannock claims

to have first learned of the sale in June of 2021. Id., PageID.71, ¶ 38. After learning of the sale,

Bannock filed suit. Bannock first filed suit against Dennis Siem, Coldwell Banker, Bay Title &

Abstract, Donald Nerat and Stephen Nerat. The following counts were alleged:



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            •   Count I: breach of contract against the Nerat Defendants;

            •   Count II: tortious interference with contract against Coldwell
                Banker and Siem;

            •   Count III: breach of implied-in-fact contract against Bay Title &
                Abstract; and

            •   Count IV: tortious interference with business relationships against
                Siem, Coldwell Banker, and Bay Title & Abstract. Complaint, ECF
                1, PageID.4-PageID.6, ¶¶ 28-42.


        Siem and Coldwell Banker filed a 12(b)(6) motion, seeking to dismiss the claims against

them. After reviewing Siem/Coldwell Banker’s motion, the Court gave Plaintiff leave to amend

its complaint or the option of opposing the motion. ECF 13, PageID.62.

        Plaintiff elected to amend its Complaint, filing the FAC on September 28, 2021. ECF 16,

PageID.67-PageID.97. In the FAC, Bay Title has been dropped altogether, and has been

dismissed from the case. See ECF 15, PageID.65. Tortious interference claims have also been

abandoned. However, Plaintiff has added allegations of “fraud and silent fraud” as to all

Defendants.



III.    STANDARD OF REVIEW

        To survive a 12(b)(6) motion, a plaintiff has to plead “enough facts to state a claim to

relief that is plausible on its face.” Bassett v. Nat. Collegiate Athletics Ass’n., 528 F.3d 426, 430

(6th Cir. 2008). In considering a 12(b)(6) motion, a court should “construe the complaint in the

light most favorable to the plaintiff, accept its allegations as true, and draw all reasonable

inferences in favor of the plaintiff.” Id. at 430. However, the court should not accept as true legal

conclusions, bare assertions, or conclusory allegations. See Ashcroft v. Iqbal, 556 U.S. 662, 678-

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679, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009). As to attachments or exhibits to a complaint, the

Court may “[c]onsider the Complaint and any exhibits attached thereto, public records, items

appearing in the record of the case and exhibits attached to the defendant’s motion to dismiss, so

long as they are referred to in the Complaint and are central to the claims contained therein.”

Bassett, 528 F.3d at 430.



IV.     CHOICE OF LAW

        This case comes before the Court under its diversity jurisdiction. See 28 U.S.C. § 1332;

see also FAC, ECF 16, PageID.68 ¶ 10. In a diversity case, a federal trial court should apply the

substantive law of the state in which the court sits. Erie R.R. Co. v. Tompkins, 304 U.S. 64, 78, 58

S.Ct. 817, 82 L.Ed. 1188 (1938); International Insurance Co. v. Stonewall Insurance Co., 86 F.3d

601, 604-605 (6th Cir. 1996). At this point, there does not seem to be much dispute that

Michigan substantive law is controlling in this case. Given that the place of contracting, place of

performance, and the situs of the real estate that is the subject of this litigation is in Michigan,

Michigan substantive law should be applied.

        However, federal law nevertheless governs this court as to some elements of this dispute.

As to issues concerning marijuana, the CSA preempts, is controlling and should be applied by the

Court. See analysis, infra.




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V.     ARGUMENT

      A.     Because the Nerat Defendants Executed the Offer After it Expired, the Parties
Did Not Form a Contract. Therefore, There Was No Contract to Breach.

       The Buy and Sell Agreement was not in fact an agreement. It states “THIS OFFER

WILL EXPIRE ON January 21 . . . or upon Seller’s receipt of revocation from Buyer,

whichever is earlier.” Buy and Sell Agreement, Exhibit A to the FAC, PageID.82, ¶ 27

(emphasis supplied in original). The paragraph concerning the Sellers’ acceptance is left blank.

Id., PageID.83, ¶ 29. The Nerats signed, acknowledging receipt of the document on January 26,

2021. Id., ¶ 31; FAC, PageID.68, ¶ 13. Assuming that the “acknowledgement of receipt”

paragraph constitutes an acceptance as alleged by Plaintiff, it was nevertheless executed after the

offer had expired. Therefore, the Nerats accepted nothing. No agreement was formed.

       It is well-settled law that a late acceptance of an offer does not form an enforceable

contract. “Before a contract can be completed, there must be an offer and acceptance. Unless an

acceptance is unambiguous and in strict conformance with the offer, no contract is formed.”

Pakideh v. Franklin Commercial Mortgage Group, Inc., 213 Mich. App. 636, 640 (Mich. Ct. App.

1995). “An offer comes to an end at the expiration of the time given for its acceptance.” Id. at

640-641. An offeree cannot accept, either through words or deeds, an offer that has lapsed.” Id.

at 641. “[A]n offeror cannot waive the lapse of his offer simply by choosing to disregard it.” Id.

For that matter, implicit behavior of the parties cannot form a contract when an offer has lapsed.

Id.

       For example, in Raptis v. Bank of America, N.A., unpublished opinion per curiam of the

Michigan Court of Appeals, Case No. 310089, 2013 WL 3032295 (Mich. Ct. App. Issued June 18,

2013), the Michigan Court of Appeals held that an offer of a mortgage modification did not create

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a binding contract when it was signed after the expiration of the offer, even when post-signing

actions of the parties suggested the formation of an agreement. In Raptis, Plaintiff George Raptis

owned a home subject to a mortgage serviced by Bank of America. In 2009, Mr. Raptis started

experiencing financial hardships. Bank of America sent him an offer for a “Trial Plan

Agreement,” which would have allowed him to pay a smaller amount on his mortgage.

       Under the terms of the proposed agreement, Raptis had to sign the agreement before a

notary and return it to Bank of America by November 19, 2010. He signed, but not before a

notary and he did not attempt to accept the offer until December 7, 2010. On December 13, 2010,

Mr. Raptis sent the bank a check in the adjusted amount set forth in the offer. The bank accepted

the payment. Subsequently, the bank foreclosed. Mr. Raptis filed suit alleging a number of

theories, including breach of contract. The trial court granted summary disposition to Defendant.

Plaintiff appealed. The Michigan Court of Appeals made clear that there was no agreement

formed because Mr. Raptis failed to timely sign the offer and failed to sign it before a notary. The

court observed that even though the December 13, 2010 was for the adjusted amount under the

bank’s modification offer, the acceptance of his check by the bank did not imply acceptance of

the offer and form a contract.

       Similar to the loan modification agreement in Raptis, Bannock’s offer was not signed by

the Nerats until after the offer had expired on January 21. Bannock’s payment of an earnest

money deposit and the signing of the Amendment of the Offer to Purchase (PageID.93 &

PageID.95) does not convert an expired offer into a binding contract. Because the Nerats signed

after Bannock’s offer had expired, Bannock fails to state a claim for which relief can be granted

and the breach of contract count should be dismissed.



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       B.     The Amendment to Offer to Purchase is Illegal. Therefore, Bannock Fails to State
an Actionable Claim in Attempting to Enforce the Amendment.

               i.      The Amendment is Illegal and Should be Dismissed.

       To the extent that the Amendment to Offer to Purchase (the “Amendment”) creates a

creates a contract, it is illegal and unenforceable by this Court. The Amendment states “Buyer

and Seller agree that the sale is contingent upon Yuma Way MI LLC receiving a license from the

City of Menominee to operate a retail marihuana establishment at the property.” (PageID.93 &

PageID.95).

       Under the CSA cannabis is a Schedule I controlled substance. 21 U.S.C. § 812. The CSA

makes it illegal to “manufacture, distribute, or dispense” a controlled substance. 21 U.S.C. §§

841(a)(1), 844(a) (penalties). Under the CSA, it a crime to manufacture, distribute, and possess

marijuana for any reason, including for purposes permitted by state law. Gonzalez v. Raich 545

U.S. 1, 14 & 29, 125 S.Ct. 2195, 162 L.Ed.2d 1 (2005). “If there is any conflict between federal

and state law with regard to marijuana legislation, federal law shall prevail pursuant to the

supremacy clause.” U.S. v. Walsh, 654 Fed. Appx. 689, 695 (6th Cir. 2016) (quoting Gonzalez,

supra at 29; internal quotations omitted).

       “The authorities from the earliest time to the present unanimously hold that no court will

lend its assistance in any way towards carrying out the terms of an illegal contract.” McMullen v.

Hoffman, 174 U.S. 639, 654, 19 S.Ct. 839, 43 L.Ed. 1117 (1899). A federal district court cannot

enforce a contract if doing so would require a party to do something that would violate federal

statutes. Kaiser Steel Corp. v. Mullins, 455 U.S. 72, 77, 102 S.Ct. 851, 70 L.Ed.2d 833 (1982); see

also Anderson v. International Union, United Plant Guard Workers of America, 370 F.3d 542, 554




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(6th Cir. 2004) (“Federal courts may not enforce a contract if the result would be to compel a

violation of the law.” Id.).

        Under Michigan law, courts may not enforce illegal contracts. “All contracts which are

founded on an act prohibited by a statute under a penalty are void although not expressly

declared to be so and neither law nor equity will enforce a contract made in violation of such a

statute or one that is in violation of public policy.” Krause v. Boraks, 341 Mich. 149, 155 (Mich.

1954) (quoting Jaenicke v. Davidson, 290 Mich. 298, 304 (Mich. 1939) (internal quotations

omitted)).

        Even where marijuana, medical or otherwise, is legal at the state level, federal courts

sitting in diversity have declined to allow a plaintiff’s breach of contract claims on illegality

grounds. Tracy v. USAA Cas. Ins. Co., 11-00487 LEK-KSK, 2012 WL 928186 at *13 (D. Haw.

Mar. 16, 2012) (Summary judgment granted to defendant insurance company in breach of

contract action where alleged breach was for denying plaintiff’s insurance claims for loss of

medical marijuana plants because of federal illegality.); Hemphill v. Liberty Mutual Ins. Co., 10-861

LH/RHS, 2013 WL 12123984 at *2 (D. N.M. Mar. 28, 2013) (“This federal court, even sitting in

diversity, cannot force Defendant to recompense Plaintiff for medical expenses that are contrary

to federal law and federal policy, even if the contract generally provides for the payment of future

medical expenses. Such payment violates federal law, as clearly expressed by Congress, and New

Mexico state law prevents the enforcement of an illegal contract.” Id.); J. Lilly, LLC v. Clearspan

Fabric Structures International, Inc., Case No. 3:18-cv-01104-HZ, 2020 WL 1855190 at *12 (D. Or.

April 13, 2020) (Breach of contract claim alleging failure to build a greenhouse to be used to grow

marijuana dismissed. “[A]warding Plaintiff damages for lost profits would require the Court to



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compel Defendants to violate the Controlled Substances Act.” Id.); Sensoria LLC v. Kaweske,

Case No. 20-cv-00942-MEH, 2021 WL 103020 at *6 (D. Colo. January 12, 2021) (Derivative

action/subscription agreement dispute where corporation created investment vehicle for

cannabis businesses dismissed on 12(b)(6) grounds because investments concerned marijuana

businesses in violation of the CSA.); Bart Street III v. ACC Enterprises, LLC, unpublished opinion

of the U.S. District Court for the District of Nevada, Case No. 2:17-cv-00083-GMN-VCF, 2020

WL 1638329 (D. Nev. April 1, 2020) (Court sitting in diversity granted summary judgment in

favor of defendant borrower where plaintiff lender sued to recover $4.7 million loan where

cannabis-related right of first refusal was not severable from contract under Nevada law. Id. at

*8.); Polk v. Gontmakher, unpublished opinion of the U.S. District Court for the Western District

of Washington, Case No. 2:18-cv-01434-RAJ, 2020 WL 2562536 (W.D. Wash. May 21, 2020)

(12(b)(6) motion granted where plaintiff sued for violation of partnership agreement where

partnership was cultivating cannabis. Id. at *2-*3.); Ricatto v. M3 Innovations Unlimited, Inc.,

unpublished opinion of the United States District Court for the Southern District of New York,

Case No. 18 Civ. 8404, 2019 WL 6681558 (S.D.N.Y. December 6, 2019) (Noting in dicta in a

footnote, that if the contract at issue in the dispute were to be solely for development of a

marijuana grow, it could not enforce the contract, but nevertheless dismissing pursuant to

12(b)(6) on different grounds. Id. at *7, n. 4.).

        Here, Plaintiff made it explicit that the closing of the transaction was contingent upon the

granting of a retail cannabis license by the city of Menominee to a third party. By making the

transaction contingent upon the grant of a marijuana license, Plaintiff fails to state a claim for

which relief can be granted. In Sensoria, the underlying transaction was related to marijuana sales



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in violation of the CSA. Id. at *1-*3. Similarly, here, the entire transaction was explicitly

conditioned on the granting of a marijuana license to a third party. In Sensoria, the aggrieved

investors were seeking return on investment from a marijuana business, but the investors’

claimed losses allegedly also involved monies spent on legal services, corporate law matters, non-

marijuana products, and other independent acts not proscribed by the CSA. Id. Taking the

plaintiff’s allegations in Sensoria as true, the monies lost and at issue were frittered away by the

defendants for personal gain, not marijuana at all. Id. Nevertheless, the lawsuit was still dismissed

on 12(b)(6) grounds. The outcome should be the same here.

       Applying Michigan law on severability of illegal contract provisions does not save

Plaintiff’s case. Michigan courts will sever illegal portions of a contract where portions may still

be legally enforced. E.g., Eastern Distributing Corp. v. Lightstone, 257 Mich. 184, 185-186 (Mich.

1932) (Publisher suing for breach of contract for payments from reseller barred only from

collecting profits from illegal and “immoral” magazines sold under the contract, not other

“legitimate” magazines. Id. at 186.). However, where the illegal portion of an agreement is

central to the parties’ agreement, the contract is unenforceable. Stokes v. Millen Roofing Co., 466

Mich. 660, 666 (Mich. 2002). Here, per the Addendum, the entire sale transaction was

contingent upon the granting of a marijuana license to a third-party entity. Addendum, PageID.93

& PageID.95. As the granting of a cannabis license was central—a condition precedent—to the

parties’ agreement, it cannot be severed. Thus, the case should be dismissed.




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               ii.     The Court Should Not Follow Non-Binding Case Law Where the CSA is
                       Disregarded.

       The Court should not follow cases where a plaintiff in a diversity case has defeated a

dispositive motion based on an illegality argument. Though not controlling to this Court, Mann v.

Gullickson, unpublished opinion of the United States District Court for the Northern District of

California, Case No. 15-cv-03630-MEJ, 2016 WL 6473215 (N.D. Cal. November 2, 2016) has

been cited by federal courts sitting in diversity and vetting state law disputes implicating the

CSA. In Mann, the dispute amounted to a “simple breach of contract claim.” Id. at *1. Plaintiff

Dharminder Mann sold Defendant Sara Gullickson two businesses pursuant to a stock purchase

agreement. One of the businesses was “a consulting business for state-regulated marijuana

dispensary or cultivation licenses” and the other was a hydroponic retail sales franchise. Id. at *1.

Plaintiff sued in state court when Defendant failed to make payments as agreed under the stock

purchase agreement. Id. at *1-*2. Defendant Gullickson removed the case to federal district court

on diversity grounds and filed counterclaims with her responsive pleadings. Id. at *2.

       Subsequently, Ms. Gullickson moved for summary judgment, arguing that the stock

purchase agreements were illegal due to the businesses’ involvement with medical marijuana. Id.

The court denied the motion. In its opinion, the Mann court reasoned that “it could grant relief

in this case that does not require Gullickson to violate the CSA.” Id. at *7. Specifically, it found

that it could rule in favor of Mann, requiring the payment for the sale of the businesses, because

doing so would not “require Gullickson to possess, cultivate, or distribute marijuana, or to in any

other way require her to violate the CSA.” Id. This is not the case here.

       Mann and its progeny are distinguishable and should not be followed by this Court. Here,

the Addendum explicitly conditioned the closing of the disputed transaction on the granting of a

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license to sell marijuana. PageID.93. The transaction was conditioned upon the granting of a

license to violate the CSA. See id. For this reason alone, Plaintiff’s Complaint should be

dismissed. Further, in Mann, Defendant Gullickson chose to remove the case from state court

(which likely would have disregarded a CSA-based illegality defense), and then argued for

dismissal in the federal court. Here, Plaintiff chose to file suit in federal court, despite the CSA’s

prohibition on manufacturing, distributing, or dispensing marijuana. Finally, Mann should not be

followed by the Court as it runs contrary to the CSA and Gonzalez, supra. Because the

Addendum was illegal, Plaintiff fails to state a claim for which relief can be granted and the case

should be dismissed.

        Public policy arguments about fairness of results in contract illegality caselaw should not

be applied here. Some courts have overlooked the issue of contractual illegality on fairness

grounds. For example, in Kush, Inc. v. Van Vranken, unpublished opinion for the United States

District Court for the District of Nevada, Case No. 2:20-cv-649JCM(DJA), 2020 WL 8371452

(D. Nev. June 19, 2020), the court observed that “courts have recognized the need to enforce

‘illegal’ contracts in order to avoid unjustly enriching a defendant or disproportionately

penalizing a plaintiff.” Id. at *5. These types of public policy concerns are not present in this

case.

        There is no risk that the Nerat Defendants would be unjustly enriched—they sold the

same property to another buyer at the same price. See Offer, PageID.79, ¶ 2; see Deniro Saco

Buy and Sell Agreement, PageID.87, ¶ 2. Note that this is the case when there is at the least some

question of whether Plaintiff’s offer to purchase was a back up offer or secondary offer. See FAC,




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PageID.72, ¶¶ 40-41.3 Similarly, dismissal does not create a disproportionately harsh penalty

against Plaintiff. The Offer was not timely accepted and had expired—it was not a contract.

Illegality is not a bar to Plaintiff’s claims in state court. Dismissal of Plaintiff’s claims here is not

disproportionately harsh—it is indicated.

C.    Plaintiff’s Fraud/Silent Fraud Arguments Fail to State a Claim for Which Relief Can be
Granted.

         Plaintiff’s newly added claims also fail to state a claim for which relief can be granted.

This is for three reasons: first, because failure to follow through on a future promise is not

actionable for fraud. Second, these claims fail on illegality grounds as they arise out of the same

contemplated transaction that violates the CSA. Third, because Plaintiff has failed to meet the

specificity requirements of Fed. R. Civ. P. 9(b).

                  i.        The Fraud Claims Fail to State a Claim Since a Future Promise is Not
                            Actionable.

         Here, the problem is that a plaintiff cannot state a claim for which relief can be granted for

fraud when a promise of future compliance is at issue. Hi-Way Motor Co. v. International

Harvester Co., 398 Mich. 330, 336 (Mich. 1976). “Failure to carry out a promise to do a future act

does not constitute actionable fraud; instead, the remedy, if any, lies in a suit for breach of

contract.” Michigan National Bank v. Holland-Dozier-Holland Sound Studios, 73 Mich. App. 12,

18 (Mich. Ct. App. 1976); see also Adell Broadcasting Corp. v. Cablevision Industries, 854 F.Supp.

1280, 1293 (E.D. Mich. 1994). The future promise at issue here—to sell a commercial building—

do not sound in fraud.


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                   Because this Motion is brought under Fed. R. Civ. P. 12(b)(6), Defendants take Plaintiff’s
allegations as true and will not delve into defenses outside of the applicable standard. If the case were to proceed,
Defendants anticipate showing that Plaintiff did in fact know that it was in a backup position with regard to the
purchase of the property.

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        Plaintiff’s fraud claims allege that the Nerat Defendants made material

misrepresentations “that they intended to sell the Property to Plaintiff pursuant to the Purchase

Agreement.” FAC, PageID.74, ¶ 65. The FAC’s fraud allegations against the Nerat Defendants

are grounded in a promise to do a future act. Because Plaintiff’s fraud allegations claim the Nerat

Defendants made misrepresentations as to a promise of future compliance, these claims fail.

Caselaw notes that such a claim, “if any,” may exist in breach of contract. Hi-Way Motor Co.,

supra. However, for the reasons discussed above, there is no valid breach of contract claim either.

This count should be dismissed for failure to state a claim for which relief can be granted.

                ii.     The Fraud Claims Fail to State a Claim Since Plaintiff Seeks to Enforce
                        Illegal Activity.

        Plaintiff’s fraud claims run afoul of the CSA for the same reasons argued above. This

Court should not enforce an illegal contract. If the Court decides that Plaintiff fails to state a

claim concerning the Addendum because of illegality grounds, the fraud/silent fraud claims

should fall as well. Plaintiff claims that the Nerat Defendants defrauded Plaintiff by

misrepresenting that they would sell the strip mall to Plaintiff under the terms of the Addendum,

but omitting that Defendants were under contract to sell to another buyer. See FAC, PageID.74,

¶ 63. If the sale had moved forward under the Addendum, the transaction would have been illegal

and in violation of the CSA. Thus, Plaintiff’s claim of damages under the fraud/silent fraud

claims fail on illegality grounds.

                iii.    The Fraud Allegations Fail to Meet the Pleading Requirements of Fed. R.
                        Civ. P. 9(b).

        Fed. R. Civ. P. 9(b) states that “[i]n alleging fraud or mistake, a party must state with

particularity the circumstances constituting fraud or mistake. Malice, intent, knowledge, and



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other conditions of a person’s mind may be alleged generally.” The rule “requires plaintiffs at a

minimum ‘to allege the time, place and contents of the misrepresentation(s) upon which he

relied.”’ American Town Center v. Hall 83 Associates, 912 F.2d 104, 109 (6th Cir. 1990) (quoting

Bender v. Southland Corp., 649 F.2d 1205, 1216 (6th Cir. 1984)). When pleading fraud, a Plaintiff

is required “(1) to specify the allegedly fraudulent statements; (2) to identify the speaker; (3) to

plead when and where the statements were made; and (4) to explain what made the statements

fraudulent.” Republic Bank & Trust Co. v. Bear Stearns & Co., Inc., 683 F.3d 239, 247 (6th Cir.

2012). Here, Plaintiff has failed to specify its damages, making only a perfunctory claim that it

“incur[red] expenses” pursuing the sale. FAC, PageID.69, ¶ 20. Plaintiff also fails to specify who

made the allegedly fraudulent statements, when and where they were made, or what made them

fraudulent. Plaintiff claims that the Amendment contains the misrepresentation that the Nerats

“intended to sell the Property to Plaintiff pursuant to the Purchase Agreement.” FAC,

PageID.74, ¶ 65. However, the Addendum includes no such statement. Addendum, PageID.93.

In fact, the Addendum contains a perpetual contingency on selling the property: that “the closing

date shall be defined as the later of July 1, 2021 or five (5) business days following Yuma Way MI

LLC receiving a license to operate a marihuana retail establishment at the above-mentioned

property.” Id. Aside from likely violating the rule against perpetuities, the plain language of the

Addendum shows that Plaintiff has not alleged the sufficiently alleged misrepresentations to

satisfy Fed. R. Civ. P. 9(b). Plaintiff’s cursory allegations of fraud fail to meet the specificity

requirements of Rule 9(b).




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VI.    CONCLUSION

       As to all counts raised against the Nerat Defendants, Plaintiff’s complaint fails to state a

claim for which relief can be granted. As such, the FAC should be dismissed pursuant to Fed. R.

Civ. P. 12(b)(6). Defendants recognize that leave to amend complaints is freely given where

justice requires, but leave to amend a complaint should not be awarded when doing so would be

futile. U.S. ex rel. Harper v. Muskingum Watershed Conservancy District, 842 F.3d 430, 440 (6th

Cir. 2016). “‘A proposed amendment is futile if the amendment could not withstand a Rule

12(b)(6) motion to dismiss.”’ Id. (quoting Rose v. Hartford Underwriters Ins. Co., 203 F.3d 417,

420 (6th Cir. 2000)). Such is the case here. The FAC should be dismissed.




                                                      Respectfully submitted,

                                                      Numinen, DeForge & Toutant, P.C.

                                                              s/ Phillip B. Toutant
                                                      ____________________________
                                                      PHILLIP B. TOUTANT (P72992)
                                                      Attorneys for Defendants Nerat
                                                      105 Meeske Ave.
                                                      Marquette, MI 49855
                                                      (906) 226-2580
                                                      phillip@numinenlaw.com




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          CERTIFICATE OF COMPLIANCE CONCERNING WORD COUNT

       Pursuant to W.D. Mich. L. Civ. R. 7.2(b)(ii), I hereby certify that Defendants’ Donald J.

Nerat and Stephen A. Nerat’s Brief in Support of Motion to Dismiss contains 5,147 words as

defined by W.D. Mich. L. Civ. R. 7.2(b)(i) and is therefore compliant with said rule. The word

count was generated by word processing software, specifically Microsoft Word for Microsoft 365.



                                                         s/ Phillip B. Toutant
                                                    ___________________________
                                                    PHILLIP B. TOUTANT (P72992)
